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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9

10
        RICHARD HENRETTA,                                     CASE NO. 3:22-cv-05407-DGE
11
                                Plaintiff,                    ORDER TO FILE MOTION FOR
12              v.                                            DEFAULT JUDGMENT
13      ROGER W. ACH, II et al.,
14                              Defendant.

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16
            On December 18, 2023, the Court granted Plaintiff’s second motion for default. (Dkt.
17
     No. 41.) As of the date of this order, Plaintiff has not filed a motion for default judgment.
18
            The Court ORDERS Plaintiff file the motion for default judgment by April 22, 2024 or
19
     else risk dismissal for failure to prosecute.
20
            Dated this 8th day of April 2024.
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23                                                         David G. Estudillo
                                                           United States District Judge
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     ORDER TO FILE MOTION FOR DEFAULT JUDGMENT - 1
